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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES – GENERAL

 Case No.:      CV 20-01882 RAO                                       Date:    August 31, 2021
 Title:         James Shayler v. Ehab S. Yacoub, et al.



 Present:          The Honorable ROZELLA A. OLIVER, U.S. MAGISTRATE JUDGE

                Donnamarie Luengo                                        N/A
                  Deputy Clerk                                  Court Reporter / Recorder

      Attorneys Present for Plaintiff(s):                  Attorneys Present for Defendant(s):

                       N/A                                                 N/A

Proceedings:            (In Chambers) ORDER GRANTING PLAINTIFF’S MOTION FOR
                        SUMMARY JUDGMENT [56]

I.     INTRODUCTION

        Pending before the Court in this action brought pursuant to the Americans with Disabilities
Act (“ADA”) and California’s Unruh Civil Rights Act (“Unruh Act”) is Plaintiff’s renewed Motion
for Summary Judgment (“Motion”), which was filed on May 5, 2021. Dkt. No. 56. Plaintiff’s
prior summary judgment motion was denied by the Court on April 30, 2021 on the ground that
Plaintiff had not met his burden of plausibly showing that the removal of the barriers to access that
he had encountered and/or identified at Defendants’ business, Fresh Pita Organic Express, was
readily achievable. Dkt. No. 55 at 9-10. Because the parties are familiar with the factual and
procedural background of this case, the Court will not recite all of the relevant facts again but will
hereby incorporate by reference its April 30, 2021 order.

        In support of the instant Motion, Plaintiff has submitted a Memorandum of Points and
Authorities, Dkt. No. 56-1; a Separate Statement of Undisputed Facts, Dkt. No. 56-2 (“SUF”); a
Declaration of James Shayler, Dkt. No. 56-3; a Declaration of Dr. Thomas McCloy, Dkt. No. 56-
4; a Declaration of Marc Friedlander, Dkt. No. 56-5; a Declaration of Anoush Hakimi, Dkt. No.
56-6; a Declaration of John Battista, Dkt. No. 56-7; and Plaintiff’s Exhibits 1-32, Dkt. Nos. 56-9
through 56-40.

         On May 26, 2021, Defendants filed a Memorandum of Points and Authorities in support
of its opposition to the Motion (“Opposition”). Dkt. No. 58. Defendants’ Opposition is supported
by a Statement of Disputed Facts, Dkt. No. 58-1 (“SDF”); a Declaration of Saher Yassa, Dkt. No.
58-2; a Declaration of Ehab Yacoub, Dkt. No. 58-3; and a Declaration of Lorine Mikhaeil, Dkt.
No. 58-4.


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                              UNITED STATES DISTRICT COURT
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                                  CIVIL MINUTES – GENERAL

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      On June 2, 2021, Plaintiff filed a Reply, Dkt. No. 59; a second Declaration of Anoush
Hakimi; Dkt. No. 59-1; and Plaintiff’s Exhibit 33, Dkt. No. 59-2.

        On June 8, 2021, on the eve of the hearing on the Motion, Defendants submitted a second
Declaration of Ehab Yacoub, Dkt. No. 60, and a second Declaration of Saher Yassa, Dkt. No. 60-
1, in support of their Opposition.

        On June 9, 2021, the Court heard argument from counsel on the Motion and on Defendants’
objections to the Motion.

       For the reasons stated below, the Court GRANTS the Motion.

II.    BACKGROUND

       A.        Undisputed Facts

        The Court incorporates by reference the undisputed facts found and set forth in its prior
order, Dkt. No. 55 at 3-4, except as expressly amended or supplemented below.

       B.        Disputed Facts

       The Court incorporates by reference the disputed facts found and set forth in its prior order,
Dkt. No. 55 at 5, except as expressly amended or supplemented below.

III.   LEGAL STANDARD FOR RULE 56 MOTIONS

        Summary judgment is warranted when “the movant shows that there is no genuine dispute
as to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P.
56(a). An issue is “genuine” only if a sufficient evidentiary basis exists upon which a reasonable
jury could find for the nonmoving party. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248-49,
106 S. Ct. 2505, 91 L. Ed. 2d 202 (1986). A factual dispute is “material” only if it might affect
the outcome of the suit under governing law. Id. at 248.

         The moving party bears the initial responsibility of presenting the basis of its motion and
identifying those portions of the record, together with affidavits, that it believes demonstrate the
absence of a genuine issue of material fact. Celotex Corp. v. Catrett, 477 U.S. 317, 323, 106 S.
Ct. 2548, 91 L. Ed. 2d 265 (1986). Once the moving party meets its initial burden, the burden
shifts to the opposing party to demonstrate the existence of a genuine issue of material fact with



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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES – GENERAL

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specific facts. Anderson, 477 U.S. at 248-49. The parties must support their assertions that a
material fact cannot be or is genuinely disputed by (1) citing materials in the record, (2) showing
that materials cited do not establish an absence or presence of a genuine dispute, or (3) showing
that the adverse party lacks admissible evidence to support its factual position. See Fed. R. Civ.
P. 56(c)(1)(A)-(B). A party may also object to material cited on the basis that it “cannot be
presented in a form that would be admissible in evidence.” Fed. R. Civ. P. 56(c)(2). An opposing
party cannot rely on the “mere existence of a scintilla of evidence.” Anderson, 477 U.S. at 252.

         In considering a motion for summary judgment, the Court must examine all the evidence
in the light most favorable to the nonmoving party and draw all justifiable inferences in its favor.
Id. at 255. The Court does not make credibility determinations, nor does it weigh conflicting
evidence. Anderson, 477 U.S. at 255. But “[c]onclusory, speculative testimony in affidavits and
moving papers is insufficient to raise genuine issues of fact and defeat summary judgment.”
Soremekun v. Thrifty Payless, Inc., 509 F.3d 978, 984 (9th Cir. 2007).

       The Court may consider only admissible evidence in ruling on a summary judgment
motion. Orr v. Bank of Am., NT & SA, 285 F.3d 764, 773 (9th Cir. 2002). The Court is concerned
only with the admissibility of relevant facts, not the form presented in a motion. See Fed. R. Civ.
P. 56(c)(2) (permitting a party to “object that the material cited to support or dispute a fact cannot
be presented in a form that would be admissible in evidence”).

IV.    DISCUSSION

        In its April 30, 2021 order, the Court found that there was no genuine issue of material fact
that (1) Plaintiff is disabled within the meaning of the ADA; (2) Defendants are a private entity
that operate a place of public accommodation; and (3) Plaintiff’s full and equal access to
Defendants’ business had been impaired. Dkt. No. 55 at 7-8 (citing standard set forth in Arizona
ex rel. Goddard v. Harkins Amusement Enterprises, Inc., 603 F.3d 666, 670 (9th Cir. 2010)).

        Further, the Court found in its prior order that the only issue in dispute was whether
Plaintiff had met his burden of plausibly showing that the removal of the barriers encountered or
identified at Defendants’ business was “readily achievable” by Defendants. Dkt. No. 55 at 8 (citing
Lopez v. Catalina Channel Express, Inc., 974 F.3d 1030 (9th Cir. 2020)). For the following
reasons, the Court finds that Plaintiff has now met his burden and that Defendants have failed to
present evidence sufficient to “negate [the plausible showing] and prove that the removal is not
readily achievable.” Id. at 1036.


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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

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         As noted in the prior order, to satisfy his initial burden Plaintiff “must plausibly show
how the cost of removing the architectural barrier at issue does not exceed the benefits under the
circumstances.” Id. at 1038. Plaintiff is not required to address the ADA’s four enumerated
factors1 in detail but need only make a “plausible showing that the requested accommodation is
readily achievable.” Id. at 1038-39. Once he has done so, “the burden shifts to [Defendants] to
counter [this] initial showing, and at that point the [Court] is required under the statute to weigh
each of the § 12181(9) factors to determine whether removal of the architectural barrier is readily
achievable or not.” Id. at 1039.

        In his renewed Motion, Plaintiff has presented evidence in the form of a Site
Accessibility Evaluation Report that was prepared following an inspection of Defendants’
business on May 4, 2021 by John Battista, a Certified Access Specialist with over 38 years of
construction experience. See Mot. at 27-30; Dkt. No. 56-40 (“CASp Report”); Dkt. No. 56-7 at
¶¶ 2-3. According to Plaintiff, the CASp Report establishes that nearly all of the remediation
work identified by Battista is readily achievable because it is not overly costly, time-consuming,
or impactful with regard to the Business’ operation. Motion at 30; Battista Declaration at ¶ 68.
Notably, Battista sets forth time and cost estimates for each proposed remediation. See Motion
at 27-30; Battista Declaration at ¶¶ 12, 19, 21, 23, 24, 26, 28, 30, 32, 34, 36, 38, 41, 43, 45, 47,
49, 51, 53, 55, 57, 59, 61, 63, 65, 67.

        Defendants nevertheless argue in response that Plaintiff’s cost-benefit analysis “falls
short of the mark.” Opposition at 3. In Defendants’ view, Plaintiff and Battista have “provided
nothing more than unsupported price estimates” that do not satisfy Plaintiff’s burden under
Lopez. Id. (citing Vesecky v. Garick, Inc., 2008 WL 4446714, at *4 (D. Ariz. Sept. 30, 2008)).

         For the following reasons, Defendants’ argument is rejected. First, Defendants rely on a
district court case from Arizona, Vesecky, that was issued before the Ninth Circuit clarified the

1
  The four factors are “(A) the nature and cost of the action needed [ ];
(B) the overall financial resources of the facility or facilities involved in the action; the number of persons employed
at such facility; the effect on expenses and resources, or the impact otherwise of such action upon the operation of
the facility;
(C) the overall financial resources of the covered entity; the overall size of the business of a covered entity with
respect to the number of its employees; the number, type, and location of its facilities; and
(D) the type of operation or operations of the covered entity, including the composition, structure, and functions of
the workforce of such entity; the geographic separateness, administrative or fiscal relationship of the facility or
facilities in question to the covered entity.
42 U.S.C. § 12181(9)(A)–(D).” Lopez, 974 F.3d at 1038.


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                                 UNITED STATES DISTRICT COURT
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appropriate burden-shifting framework in Lopez. Without the guidance of a Ninth Circuit ruling,
the Vesecky court followed an approach taken by many other district courts in the Ninth Circuit
at that time by relying on a Tenth Circuit opinion, Colorado Cross Disability Coalition v.
Hermanson Family, Ltd., 264 F.3d 999 (10th Cir. 2001). Vesecky, 2008 WL 4446714, at *3. In
Lopez, however, the Ninth Circuit expressly declined to follow the Tenth Circuit’s approach.
Lopez, 974 F.3d at 1038 (citing Roberts v. Royal Atl. Corp., 542 F.3d 363 (2d Cir. 2008)). Thus,
under Ninth Circuit law, plaintiffs need not provide “precise cost estimates and a specific design
regarding their proposed accommodation,” as the Tenth Circuit held, but instead need only
“articulate a plausible proposal for barrier removal, the costs of which, facially, do not clearly
exceed its benefits[.]” Id. (citations and internal quotations omitted).

        The Court finds that, except where specifically noted below, the costs and time estimates
detailed in Plaintiff’s CASp report are plausible and do not clearly exceed the benefits derived,
namely, compliance with the ADA standards. Accordingly, Plaintiff has met his initial burden
under Lopez. See, e.g., Langer v. Mobeeus, Inc., 2021 WL 1657016, at *6 (C.D. Cal. Feb. 3,
2021) (holding plaintiff met his initial burden under Lopez by furnishing experienced general
contractor’s cost estimates and thereby demonstrating that benefit of compliance with ADA
facially outweighed costs of remediation). The burden then shifts to Defendants, who have an
opportunity to “negate” or “counter” the plaintiff’s plausible showing. See Lopez, 974 F.3d at
1036-39.

        The Court concludes that Defendants have not adequately countered Plaintiff’s showing.
To begin, Defendants argue that all “barriers which could be removed without difficulty have
been.” Opposition at 2. In support of this argument, Defendants have attached a declaration
from Defendant and property owner, Ehab Yacoub, stating that various remediations have been
made. Dkt. No. 58-3. Defendants subsequently submitted an additional declaration by Yacoub,
together with another supplementary declaration, suggesting that additional remediations have
either been made or attempted.2 See Dkt. Nos. 60, 60-1.

        To the extent that the Court agrees that barriers have been removed by Defendants, it
must necessarily find that the removal of those was “readily achievable.”. See, e.g., Wilson v.
Pier 1 Imports (US), Inc., 439 F. Supp.2d 1054, 1069 (E.D. Cal. 2006). The Court is not

2
  Since these documents were not filed before the May 26, 2021 deadline set by the Court’s scheduling order, the
Court need not consider them. See L-R. 7-12; Dkt. No. 57. In the interests of justice, however, the Court has
reviewed all the documents filed before the hearing date.


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convinced, however, that Defendants have furnished sufficient proof of remediation. For
example, although Defendants have proffered photographs of alleged remediations that appear to
show that the parking stall has been repainted, they do not clearly show that the slope issues in
the parking lot have been addressed. See Dkt. No. 60 at 20. Additionally, although a tow-away
sign now appears to be properly placed, it seems to be missing the required information
regarding where towed vehicles can be reclaimed. See id. at 10; CASp Report at 7.

        Next, Defendants assert that they lack authority or control over parts of the property
where other violations have been identified. Opposition at 2. Defendants argue that the
alleyway which connects their business’ parking lot to the street is under Culver City’s control.
See Dkt. No. 58-3 at ¶ 14. They also appear to argue that part of the parking lot is not under
their control, although it is not entirely clearly which part of the lot is at issue. See id. at ¶ 9.
The proof that Defendants have put forward regarding the control issue is an aerial photograph
displaying the boundaries of the relevant parcel. See id. at 8. These boundaries do not extend
over the alleyway but they do extend over the vast majority of the parking area. Therefore, the
photograph suggests that Defendants do have control over the parking lot but may not have
control over the alleyway.

        The Court finds, however, that the question whether Defendants have control over the
alleyway leading from their parking lot to the street in front is not material for purposes of the
present dispute. The ADA standards require only that “at least one accessible route” be provided
from a parking space to a business entrance. 36 C.F.R. pt. 1191, app. B § 206.2.1 (2014).
Further, the ADA standards explain that the parking space must be located on the shortest
accessible route between the space and an entrance. Id. § 208.3.1. In the instant case,
Defendants have located the accessible parking space in the area closest to the rear entrance of
their business. So long as the space, route, and rear entrance are all compliant with the ADA
standards, that is all that is required.3

         Finally, Defendants argue that if Plaintiff’s estimates are correct, complete remediation
will require the restaurant to close for a period of three to five days and necessitate expenditures
of over $10,000. Opposition at 2. Although the Court must consider the cost of the action and
its effect on the operation of the Business pursuant to 42 U.S.C. § 12181(9), Defendants have not

3
 In any event, Plaintiff has not shown that remediation of the alleyway is readily achievable. The alleyway is not
addressed in Battista’s report, and therefore no time or cost estimate has been provided for its repair. See Dkt. No.
56-40.


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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                       CIVIL MINUTES – GENERAL

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put forward any arguments, or proffered any evidence, as to why these costs and effects
outweigh the benefit afforded by compliance with the ADA standards. Defendants argue only
that Plaintiff has failed to “compare the cost of the remediation against the net profits of
Defendant.” Opposition at 3. That comparison is not required as part of Plaintiff’s initial
burden, however, as set forth above. Further, even though Defendants presumably have better
access to information regarding their own finances than Plaintiff, they have not provided any
evidence from which the Court might “compare the cost of the remediation against [their] net
profits” either. Therefore, the Court concludes that Defendants have not established that the
effect of temporary closure of the Business for a period of three to five days and costs of “over
$10,000” outweigh the benefits of compliance with the ADA and the provision of access to
people with disabilities. In sum, the Court finds that the remediations set forth in Battista’s
CASp Report are readily achievable, except as noted below and, therefore, that Plaintiff is
entitled to summary judgment.

V.       RELIEF

         Although the Court has concluded that Plaintiff is entitled to injunctive relief under the
ADA, not all of the violations identified in Battista’s report must be remediated. Plaintiff admits
that Battista identified “numerous violations that were not pled in the [First Amended
Complaint].” Id. at 29. “In barrier removal cases, an ADA plaintiff may prevail only with
respect to barriers alleged in the operative complaint.” Hernandez v. Polanco Enterprises, Inc.,
19 F. Supp.3d 918, 926 (N.D. Cal. 2013) (citing Oliver v. Ralphs Grocery Co., 654 F.3d 903,
908 (9th Cir. 2011)). Defendants are deemed to not have fair notice of barriers identified for the
first time in an expert report. Id. (citations omitted). In the instant case, Plaintiff did not seek
leave to amend his complaint after the additional barriers were discovered. Therefore, the
actionable barriers are only those that appear in both Battista’s report and the First Amended
Complaint (“FAC”) (with one further exception4).


4
  Plaintiff’s motion, reply brief, and expert report each indicate that leveling the concrete in the front of the Business
may not be readily achievable, although an adequate alternative is available. See Mot. at 28 (“However, if leveling
the front door entrance landing cannot be done, Defendants can address the threshold violation by installing a
compliant retro-fit threshold in one hour for a mere $100.”); Dkt. No. 59 at 12 (“Leveling the front door threshold
would cost $2000 if there was wider concrete done [sic] surrounding the front entrance, but alternatively, a
compliant retro-fit threshold can be installed . . . .”); CASp Rep. at 42 (“If it is not readily achievable to do the
concrete work, a compliant retro-fit threshold should be installed.”). The Court finds that Plaintiff has met his initial
burden of plausibly showing that remediating this particular barrier is readily achievable only with respect to
installing a “compliant retro-fit threshold,” as opposed to performing the concrete work.


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                              UNITED STATES DISTRICT COURT
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        In the interest of clarity and for ease of compliance, the following is a list of all the
barriers that the Court agrees Defendants can and must remediate, identified by a general title for
the purpose of this ruling, followed by the corresponding expert report “Finding Number(s),” and
the page(s) on which the corresponding violation(s) appear in the FAC:

             1. Tow-away sign. Finding 1; FAC at 6-7.

             2. Accessible parking stall/access aisle markings. Finding 3; FAC at 7-9.

             3. “No Parking” surface sign in access aisle. Finding 4; FAC at 9.

             4. ISA surface sign in accessible parking stall. Finding 5; FAC at 10.

             6. Length of accessible parking stall and access aisle. Finding 6; FAC at 8.

             7. Cross-slope within parking lot. Finding 7; FAC at 17-18.

             8. Rear entrance floor mat unsecured. Finding 10; FAC at 20-21.

             10. Front entrance threshold. Finding 16; FAC at 21.

             11. Front entrance door clearing. Finding 17; FAC at 22.

             12. Lack of accessible table in outdoor dining area. Finding 20; FAC at 14-15.

             13. Counter height. Findings 22-24; FAC at 14.

             14. Bathroom door signage. Findings 25-26; FAC at 15.

             15. Accessible lavatory violations. Findings 27-31; FAC at 15-17.

        “[I]njunctive relief is proper when architectural barriers at [a] defendant’s establishment
violate the ADA and the removal of the barriers is readily achievable.” Vogel v. Rite Aid Corp.,
992 F. Supp.2d 998, 1015 (C.D. Cal. 2014) (citations omitted). Failure to comply to the letter of
the ADA standards violates the ADA. See, e.g., Chapman v. Pier 1 Imports (U.S.) Inc., 631 F.3d
939, 945-46 (9th Cir. 2011) (citations omitted). Therefore, injunctive relief is appropriate as to
the noncompliant architectural features identified above, whose removal is readily achievable.
Under the ADA, “injunctive relief shall include an order to alter facilities to make [them] readily
accessible to and usable by individuals with disabilities.” 42 U.S.C. § 12188(a)(2). Accordingly,



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Defendants are ordered to remediate the barriers identified by Plaintiff, as clarified in the instant
order, and to submit a report establishing that the barriers have been remediated no later than
November 29, 2021.

        In addition to injunctive relief under the ADA, Plaintiff seeks an order for the minimum
statutory damages under the Unruh Act for four actual visits and one deterred visit, in the amount
of $20,000. Defendants do not dispute for the purposes of this motion that Plaintiff visited the
Business on four occasions and “experienced difficulty, humiliation, discomfort, and/or
frustration upon encountering various access barriers.” SDF 11. Nor do Defendants dispute that
Plaintiff has been deterred from visiting the Business. Id. at 38. In addition, Defendants did not
raise any arguments regarding the validity of Plaintiff’s Unruh Act claims at the hearing on the
instant Motion.

        Barriers that violate the ADA automatically violate the Unruh Act. See Rodriguez v.
Barrita, Inc., 10 F. Supp. 3d 1062, 1086 (N.D. Cal. 2014) (citations omitted); Cal. Civil Code
§ 51(f) (“A violation of the right of any individual under the [ADA] shall also constitute a
violation of this section.”). As set forth above, the Court has found that numerous identified
barriers violate the ADA. The Unruh Act establishes a minimum of $4,000 dollars in statutory
damages for each violation, “which may include multiple instances of visiting the same property
or from being deterred from visiting.” Johnson v. Reimal Fam. Ltd. P’ship, 2021 WL 428631, at
*5 (N.D. Cal. Feb. 8, 2021) (citation omitted).

         Although the parties have not addressed the issue, the Court will consider sua sponte
whether Plaintiff’s several return visits, and one deterred visit, to the Business were reasonable in
light of the general duty to mitigate damages imposed by California law. See id. (agreeing that
“California common law establishes a general duty to mitigate damages” that has not been
altered by the Unruh Act). Even assuming that Plaintiff had such a duty to mitigate, the Court
finds that his four actual visits were reasonable. First, Defendants have presented no argument
or evidence to suggest that Plaintiff acted unreasonably. Second, although the record does not
establish whether Plaintiff specifically informed Defendants at the time of his visits, or prior to
filing the instant suit, that he had encountered barriers to access, it is uncontested that Defendants
had previously been sued for accessibility violations and had failed to remediate the issues. SUF
50. Thus, Defendants were presumptively on notice regarding the existence of barriers at their
Business that were not compliant with the ADA. See Dkt. No. 56-2. See also Johnson v.
Sammy's Rest., Inc., 2019 WL 1517572, at *6-7 (E.D. Cal. Apr. 8, 2019) (granting statutory



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                               UNITED STATES DISTRICT COURT
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 damages under Unruh Act for each violation claimed by the plaintiff where the defendants failed
 to set forth disputed issues of fact and where they “were clearly on notice that [the plaintiff] had
 encountered access barriers [previously] that he expected would be removed.”). Further, the
 Court finds that Plaintiff did not act unreasonably in seeking statutory damages for a single
 deterred visit. Defendants have not presented any evidence to create a genuine issue of material
 fact as these claims. As such, the Court concludes that Defendants are liable for $20,000 in
 damages under the Unruh Act.

 VI.    CONCLUSION

        For the reasons set forth above, Plaintiff’s Motion for Summary Judgment is GRANTED.

        IT IS SO ORDERED.




                                                                                               :
                                                                  Initials of Preparer         dl




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